                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                   LONDON DIVISION
                           CIVIL ACTION NO. 6:11-cv-00109-GFVT

UNITED STATES OF AMERICA                                                            PLAINTIFF

VS.

THE ESTATE OF SHIRLEY ANN ROWE, ET AL                                           DEFENDANTS

                              MOTION FOR LEAVE TO FILE
                              THIRD AMENDED COMPLAINT

       Comes the Plaintiff, United States of America, by and through counsel, pursuant to

Fed.R.Civ.P. 15(a) and Fed.R.Civ.P. 19(a), and hereby moves the Court for an order granting

leave to file a third amended complaint in this matter. In support of this Motion, the Plaintiff

states as follows:

       It has been brought to the Plaintiff’s attention that the Last Will and Testament of Shirley

Rowe was recently discovered. A copy of this Last Will and Testament has been attached as

Exhibit D to the Third Amended Complaint. A probate estate, styled In Re: Estate of Shirley Ann

Rowe, Deceased, Case No. 12-P-00077, has been established in Rockcastle District Court in

which Beverly Pumphrey has been named as Executrix of the Estate of Shirley Ann Rowe. In her

Last Will and Testament, Shirley Ann Rowe devised her interest in the real property which is the

subject matter of this action to her brother, Stewart Rowe. Stewart Rowe is now deceased, and

his interest in the subject real property passed by intestacy to his children, Beverly Pumphrey and

Leslie Scott Rowe (aka Scott Rowe).

       The Plaintiff is seeking to amend the complaint in this matter to include the above

information regarding the Estate of Shirley Ann Rowe and to dismiss all unnecessary parties. A

motion to dismiss the unnecessary parties will be filed separately.
       Therefore, the Plaintiff, United States of America, hereby respectfully moves the Court

for an order granting leave to file a Third Amended Complaint. A copy of the Third Amended

Complaint is attached hereto and incorporated herein by reference.

                                                   Respectfully submitted,

                                                   /s/ Melissa R. Dixon
                                                   R. Scott Wilder
                                                   Melissa R. Dixon
                                                   Gambrel & Wilder Law Offices, PLLC
                                                   1222 ½ N Main St Ste 2
                                                   London, KY 40741
                                                   Telephone: (606) 878-8906
                                                   Facsimile: (606) 878-8907
                                                   Email: mrdixon@gambrelwilderlaw.com
                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing Motion for Leave to File Amended
Complaint has been served upon the following either electronically via CM/ECF or by placing in
the United States Mail, postage prepaid, on the 23rd day of May, 2012:

William D. Gregory, Esq.                          Tammy Barron
P O Drawer 220                                    Bobby Barron
Mt Vernon KY 40456-0220                           P O Box 231
                                                  Brodhead KY 40409
Leon Rowe
Judy Rowe                                         Janice Rowe
5190 Spiro Road                                   Unknown Spouse of Janice Rowe
Mt Vernon, KY 40456                               3350 Lancaster Road
                                                  Stanford KY 40484
Dr. Kevin Rowe
Carla Rowe                                        Beverly Pumphrey
140 Newcomb Ave                                   Unknown Spouse of Beverly Pumphrey
Mt. Vernon KY 40456                               130 W Broadway
                                                  Lawrenceburg KY 40342
Geraldine Francisco Grimes
Clyde Grimes                                      Leslie Scott Rowe
P O Box 283                                       Unknown Spouse of Leslie Scott Rowe
Livingston KY 40445                               960 Dills Bluff Road
                                                  Charleston SC 29412
Sheila Rowe
Unknown Spouse of Sheila Rowe                     Lewis Rowe, Jr.
P O Box 283                                       Myrtle Rowe
Livingston KY 40445                               305 Reverend Green Loop Rd
                                                  Mt Vernon KY 40456
Rose Thacker
George Thacker                                    David Rowe
119 Beaver Dr                                     Unknown Spouse of David Rowe
Richmond KY 40475                                 Box 36, Jarber Road
                                                  Mt Vernon KY 40456
Sherry Rowe
Unknown Spouse of Sherry Rowe                     Paul Rowe
4744 Club Dr                                      Edna Rowe
Port Charlotte FL 33953                           Box 46, Jarber Road
                                                  Mt Vernon KY 40456
Doug Rowe, Jr.
Unknown Spouse of Doug Rowe, Jr.                  Roger Rowe
P O Box 713                                       Roxie Rowe
Mt Vernon KY 40456                                Box 36, Jarber Road
                                                  Mt Vernon KY 40456
James Rowe
Sheila Rowe                             Brenda Sue Riley
2604 KY 3245                            Mark Riley
Brodhead KY 40409                       P O Box 334
                                        Lewisport KY 42351
Judy Williams
Troy Williams                           Debbie Cameron
120 Raven Dr                            Larry Cameron
Berea KY 40403                          115 Joyce St
                                        Mount Vernon, KY 40456
Jeremy Rowe
Unknown Spouse of Jeremy Rowe           Betty Rowe
260 Manchester Lane                     P O Box 713
Brodhead KY 40409                       Mount Vernon, KY 40456

Billy Ray Dishion                       Bobby G. McNutt
Beverly Dishion                         Unknown Spouse Bobby G. McNutt
11655 Geneva Road                       7702 Oswego Cir.
Cincinnati OH 45240                     Louisville, KY 40214-3234

Ricky Dale Dishion                      Virginia Graves
Annette Dishion                         Unknown Spouse of Virginia Graves
3082 Sugar Tree                         P O Box 597
Bethel OH 45106                         Mount Vernon, KY 40456

Estate of Linda Sue Rowe                Glenn Dale Rowe
c/o Michael Kevin Rowe, Administrator   Unknown Spouse of Glenn Dale Rowe
132 Denny Subdivision                   36 Jarber Road
Mount Vernon, KY 40456                  Mount Vernon, KY 40456

Patricia Gayle Rankin
Rodney Rankin
4332 South Third St
Louisville KY 40214




                                        /s/ Melissa R. Dixon
                                        Melissa R. Dixon
